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 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    DENIKA TERRY, et al.,                          No. 2:15-cv-0799 KJM DB
12                      Plaintiffs,
13           v.                                      ORDER
14    WASATCH ADVANTAGE GROUP, et
      al.,
15

16                      Defendants.
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18          On November 19, 2021, plaintiffs filed a motion to compel and noticed the motion for

19   hearing before the undersigned on December 10, 2021, pursuant to Local Rule 302(c)(1). (ECF

20   No. 156.) On December 3, 2021, the parties filed a Joint Statement Re: Discovery Disagreement.

21   (ECF No. 190.) Review of the Joint Statement found that defendants repeatedly stated that they

22   had agreed to produce responsive documents or amended responses. Accordingly, the hearing of

23   the motion was continued to December 17, 2021. (ECF No. 191.)

24          On December 10, 2021, the parties’ filed two Joint Statements for hearing of discovery

25   motions on December 17, 2021. (ECF Nos. 196 & 197.) Again, defendants state that they have

26   agreed to produce responses “and are working diligently to do so.” (ECF No. 197-1 at 9.)

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 1              Accordingly, IT IS HEREBY ORDERED that:

 2              1. The December 17, 2021 hearing of plaintiffs’ motions to compel (ECF Nos. 156 &

 3   197) are continued to Friday, January 7, 2022;

 4              2. If a discovery dispute remains the parties shall engage in further meet and confer

 5   efforts;

 6              3. If a discovery dispute remains, on or before December 31, 2021, the parties shall file a

 7   Joint Statement that complies with the undersigned’s Standard Information and the Local Rules 1;

 8   and

 9              4. The deadline for the completion of fact discovery in this action is continued to

10   January 14, 2022.

11   DATED: December 13, 2021                         /s/ DEBORAH BARNES
                                                      UNITED STATES MAGISTRATE JUDGE
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      If a discovery dispute remains and the parties file a Joint Statement defendants shall state in the
27   Joint Statement a date certain by which the discovery will be produced. Alternatively, if the
     parties have resolved their dispute plaintiffs may comply with this order by filing a notice of
28   withdrawal of the motions to compel.
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